                         Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 1 of 50 Page ID #:7
Elecuonivaqy FiIED by. Superior Court of Cardotnia. County of Los Angeles on 05t28/207,i'3 Q!';Q$ p,jiQ S~i m R. Caiter, F.xecuGve offcerlClerk of Court, by R. Ciiftqn,Deputy Clerk
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                                                            SUMMC}NS                                                                               fOR. CO;/RT.UBE'tgryL V
                                                                                                                                               (SOLOPARA'USo'DEL4t:OR. TE)
                                                  (CITACIC)IV JtlDlC1AL)
             90TICE10 DEFENDANT:
             (AV1SD AL DEMAIYDADO).
             LIBERTY iNStJRAt+lCE.IJIJDERWRtTERS; itJC.; IRONSHt}RE 1NSURA,NCE
             SERV[CES: LLC; D1D:ES 1-30, fNCLUSIV

             YOU ARE BE1NG SUED t3Y PLAINTIFF:
             (LO E5TA DEINANDANDO El. DEMAl1tflANTE);
             LUKASZ Gt}TTWALD and RENEE KARALIAN

              N(iTtCEi You have been sued, The court may decide against you without your being heard unless you respopd within 30 days. Read tbe information
              tielaw.
                 You have 30 GALENDAR t)AYS after this surrunons and Tegal papers are served on you to ffle a wrltten response at this court and have a copy
              senred on the ptaintiff. A tetter or phone call witt not protect you. Your written response must be in proper legal forrn if you warit the aourt to hear your
              case. There may be a court form that you can use for your response. You, can find these, court forms and riiore inEortnaEion at the Calitomia Coutts
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                 There are other legai requirements. You may want to call an attomey-right away: tf:you tlo not know an attorney, you riiay Went to cail an attoniey
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             SUPERIOR COURT OF THE STATE OF CALIF€)RNlA
             FOFt TFiE COUNTY t3F LOS ANGELES, CENTRP►L DISTRICT
             111 Notth Nill Street
             Los Angeles, CA 90012
             Tfie narrte, address, and'#elephone number of piaintiff's; attomey, or pl.aintiff writhout an attorney,. is;
             (El nombre, la direccr•rSn y sf nr;me>as de tetelono del sbogado del demandante, o del demandante que no tiene abogado, es):
             MITCH.ELL SlLBERBERG & KNt1PP LLP                          (310) 312-2000
             JEAN PIERRE NOGUES (SBN 84445),, jpn@msk.com
            .2049 Centttry Park East,181l, Floor
                                                                                          Sherri R. Carter Executiae Ofl'iceri Clerk of CQurt
             Los Angeles`OD~7-3120
             DATE:                   1                                              Clerk, by                    Romunda O[iftan           4 DeputY
             (Fectia)                                                               (Secretario)                                           (Adjurtto)
             (For proof of seNice of thfs summons, ctse Proof of Service of Summons (farm POS=010).)
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                                                       NOTICE TO THE PERSO.N SERYED: You.are served
                                                       1. ❑ as an individuat deFendant,
                                                       2. D as tlie person sued under the.fictitious name of (specity):

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                                                            under:     CCP 416.10 :(corporation                                          Q CCP 416.60 (minar)
                                                                    9CCP416.20,(deftinctcbrpora,tiori)                                   ❑ CCP 416.717 .(conservatee).
                                                                    ~ CCP 418:40 (association or partnership)                            ❑ CCP 476.90:(authorized person)
                                                                    ~ other (specify):
                                                       4.     [Q' by personat deiiivery on (da#e):

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                            Ir Court of CafHomis, County of Los Angales on 05128I2019 01:08 PM Sherrl R. Carter, t3xecuUve OfficerlClerk of Court, by R. CliRon,Depuly Gerk
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                                        Asslgned for all purposes to: Stantey Mosk Courlhouse, Judtclal Oflicer. Ruth Ann Kwan




                           1 MITCHELL SILBERBERG & KNUPP LLP
                             JEAN PIERRE NOGUES (SBN 84445), ipn@msk.com
                           2 2049 Century Park East, 18th Floor
                             Los Angeles, CA 90067-3120
                           3 Telephone: (310) 312-2000
                             Faesimile: (310) 312-3100
                           4
                                 Attomeys for Plaintiffs
                           5     Lukasz Gottwald and Renee Karalian
                           6

                           7

                           8                                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
                           9                                               FOR THE COUNTY OF LOS ANGELES
                          10                                                             CENTRAL DISTRICT
                          11     LUKASZ GOTTWALD and RENEE                                                   CASE N0.
                               I KARALIAN,
                          12                                                                                 COMPLAINT AND DEMAND FOR
                                                       Plaintiffs,                                           JURY TRIAL
                          13
                                            V.
                          14
                                 LIBERTY INSURANCE UNDERWRITERS,
                          15     INC.; IRONSHORE INSURANCE
                                 SERVICES LLC; DOES 1-30, INCLUSIVE,
                          16
                                                       Defendants.
                          17

                          18

                          19                Plaintiffs Lukasz Gottwald ("Gottwald") and Renee Karalian ("Karalian") allege:
                          20                                                                       THE PARTIES
                         21                 1.         Gottwald and Karalian (collectively "Plaintiffs") are and were at all times relevant
                          22 I to this Complaint residents of the State of Califomia.

                          23                2.         At all times relevant to this Complaint, Core Nutrition LLC ("Core") was a limited
                         24 liability company with its principal place of business located within Los Angeles County,
                          25 Califomia. At times relevant to this Complaint, Gottwald and Karalian were Managers of Core.
                         26               .3.          Plaintf ffs are informed and believe and on that basis allege that Liberty Insurance
                         27      Underwriters Inc. ("Liberty") is a corporation the principal business of which is to issue insurance
           Miwhdq        28      policies covering various risks. Plaintiffs are further informed and believe and on that basis allege
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             1 that Liberty is licensed by the California Department of Insurance and regularly does insurance

             2, business in California and within Los Angeles County.

             3           4.      Plaintiffs are informed and believe and on that basis allege that Ironshore Insurance

             4 Services LLC ("Ironshore") is an insurance company owned by, under common ownership with or

             5    otherwise affiliated with Liberty. Plaintiffs are further informed and believe and on that basis

             6    allege that Ironshore regularly,does business in Califomia and within Los Angeles County, and

             7    acts as Liberty's agent in, among other things, handling insurance claims, including the claim

             8    described below.

             9           5.      Plaintiffs are informed and believe and on that basis allege that Liberty and

            10    Ironshore have a unity of interest and ownership such that the separate personalities of the entities

            11 cease to exist, and that they, are alter egos of one another.

            12           6.      The true names and capacities, whether individual, corporate, or otherwise, of

            13    defendants named herein as Does 1 through 30, inclusive, are presently unknown to Plaintiffs,

            14    who therefore sue them under such fictitious names pursuant to Califomia Code of Civil

            15    Procedure section 474. Plaintiffs are informed and believe and on that basis allege, that Does 1

            16    through 30 are in some way responsible for or participated in the wrongful conduct alleged herein

            17    and are liable to Plaintiffs as alleged herein. Plaintiffs will amend or seek leave to amend the

            18    Complaint, if necessary, to allege the true names and capacities of said Doe defendants when the

            19    same are ascertained. Liberty, Ironshore and Does 1 through 30 are sometimes hereinafter

            20    collectively referred to as "Defendants."

            21           7.      Plaintiffs are informed and believe and on that basis allege that at all times relevant

            22    to this Complaint, each of the Defendants was the agent of the other Defendants, and, in doing the

            23    things alleged in this Complaint; was acting within the course and scope of such agency.
            24

           25                                       COMMON ALLEGATIONS
           26            8.      Plaintiffs are inforined and believe and on that basis allege that in or about April
           27     2018, Liberty issued insurance policy PCCB-00178523-04 (the "Policy") to Core in California.
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                                                              COMPLAIIVT
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                  1, Plaintiffs are further informed and believe and on that basis allege that the Policy was a renewal of
                  2 similar policies issued by Liberty to Core in California.
                  3'          9.     Among the claims made coverages provided under the Policy is "Directors,
                  4 Officers and Company Liability" coverage (the "D&O Coverage"). The D&O Coverage, among
                  5 other things (a) indemnifies Insured Persons, including current and fonner Managers of Core,
                  6 from and against all claims which they may become legally obligated to pay by reason of any
                  7 claim, unless that claim is specifically excluded under the Policy; and (b) indemnifies Core, where
                  8 it has in turn indemnified any Insured Person, including current or former Managers of Core, from
                  9 any claim made against the Insured Person, unless that claim is specifically excluded under the
                 10 Policy.
                              10.    As former Managers of Core, Plaintiffs, and each of them, are Insured Persons
                 12 under the Policy.
                 13           11.    In or about October 2018, Core's Managers agreed to sell Core to Keurig Dr.
                 14 Pepper. The sale closed in or about November 2018.
                 15           12.   Thereafter, on or about January 23, 2019, Jacob Hindlin ("Hindlin"), a former
                 16 investor in Core, filed suit against Plaintiffs in New York (the "Hindlin Action"), contending that
                 17i he did not receive appropriate compensation for the sale of his units in Core to Kuerig Dr. Pepper,
                 18 and that Plaintiffs, as Managers of Core, had breached their fiduciary and other duties to Hindlin
                 19 in failing to pay Hindlin's adequate compensation for his units. A copy of the complaint filed in
                 20 the Hindlin Action is appended hereto as Exhibit A. Said complaint was served on Plaintiffs on or
                 21 about February 7, 2019. Plaintifffs deny the allegations against them made in the Hindlin Action.
                 22           13.    At the time the complaint in the Hindlin Action was served on them, Plaintiffs
                 23 understood that Core had a policy providing D&O coverage for such suits, but did not have a copy
                 24 of the Policy. Accordingly, Plaintiffs requested that Core provide them with a copy of the Policy,
                 25 and also demanded that Core indemnify them from the Hindlin Action and Hindlin's claims as
                26 required by Core's Operating Agreement. However, Core did not provide a copy of the Policy
                27 until on or about April 4, 2019, and did not respond to Plaintiffs' indemnity demand until on or
  Mnchsu 28 about Apri122, 2019.
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                           14.     Although Core did not promptly respond to Plaintiffs, Plaintiffs are informed and
                2 I believe and on that basis allege that Core tendered the Hindlin Action to Liberty and Ironshore on
                3 I or about February 14, 2019.
                4          15.     On or about April 1, 2019, Ironshore, acting as Liberty's agent, responded to
                5 Core's tender and issued a reservation of rights letter to Core. In that letter, Ironshore/Liberty
                6 acknowledged their obligation to provide Plaintiffs (and pay for) a defense of the Hindlin Action.
                7 However, Ironshore/Liberty reserved its rights to deny indenuuty against any judgment in favor of
                8 Hindlin on various grounds, at least some of which give rise to a conflict of interest triggering
                9 Plaintiffs' right to have independent counsel of their choice defend them in the Hindlin Action
               10 under California Civil Code Section 2860 and otherwise. In addition, the letter acknowledged that
                    while Liberty had a duty to defend the Hindlin lawsuit, Plaintiffs had the right under the terms of
               12 the Policy to assume their own defense at Liberty's expense with Liberty's consent, which was not
               13 to be unreasonably withheld.
               14          16.     On or about Apri14, 2019, Core forwarded the Ironshore/Liberty reservation of
               15 rights letter to counsel for Plaintiffs, Mitchell Silberberg & Knupp LLP ("MSK"), along with the
               16 Policy. Shortly therea8er, Ironshore/Liberty contacted MSK, and asked, among other things,
               17 whether MSK would be filing ari answer on behalf of Plaintiffs the next day, which had been the
               18 last day to answer the complaint, but which had previously been extended by agreement of
               19 counsel. Subsequently, MSK formally notified Ironshore/Liberty that Plaintiffs had selected MSK
               20 to act as their independent counsel both under California Civil Code Section 2860 and under the
              21 provisions of the Policy allowing Plaintiffs to assume their own defense to be paid for by Liberty.
              22           17.     Ironshore/Liberty'thereafter refused to "consent" to MSK acting as counsel for
              23 ' Plaintiffs, citing the fact that MSK had sued Ironshore in another unrelated action as grounds for
              24, such refusal. Instead, Ironshore/Liberty demanded that Delaware counsel be selected to defend
              25 the Hindlin Action, even though it was pending in New York, and insisted that its panel counsel,
              26 Pepper Hamilton LLP, be appointed to defend Plaintiffs.
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           1          18.      On or about April 22, 2019, Core acknowledged that it was obligated to indemnify
           2 Plaintiffs from any liability arising from, and all reasonable legal fees and costs incurred in
           3 defending, the Hindlin Action.
           4          19.      Plaintiffs thereafter wrote to Ironshore/Liberty explaining that they did not have the
           5 right or any legitimate, good faith basis to "withhold consent" to MSK representing Plaintiffs
           6- under either Section 2860 or the terms of the Policy, and asked that Ironshore/Liberty reconsider
           7 their decision.
           8          20.      Thereafter, rather than act in good faith in reconsidering its position,
           9 Ironshore/Liberty doubled down and caused its outside counsel to send another letter misstating
         10 the facts, the law and the Policy in an attempt to provide a fig leaf for Ironshore/Liberty's bad faith '
          I1   efforts to deny Plaintiffs their choice of independent counsel without justification and in
         12 contravention of law and the terms of the Policy.
         13
                                                  FIRST CAUSE OF ACTION
          14                                      (DECLARATORY RELIEF)
         15           21,      Plaintiffs incorporate herein each and every allegation contained in paragraphs 1
         16 through 20, inclusive, above.

         17           22.      An actual and substantial controversy has arisen between Plaintiffs and Defendants
         18 regarding their respective rights and duties under the Policy. Specifically, Plaintiffs contend that

         19 '(a) because of Defendants' reservations of rights and the conflicts they create between Plaintiffs
         20 and Defendants, pursuant to Califomia Civil Code Section 2860 and/or under the laws of the other
         21 applicable jurisdictions, Plaintiffs are entitled to select independent counsel to defend them in the
         22 Hindlin Action and to have Defendants pay the fees and costs incurred in such defense; (b) under
         23 the terms of the Policy and/or the indemnity gt'anted by Core, Plaintiffs are entitled to assume their
         24 own defense, select their own counsel, and to be indemnified by Defendants for the fees and costs
         25 incun-ed in such defense; (c) Plaintiffs have the right to choose MSK to act as their counsel in the
         26 Hindlin Action; and (d) Defendants have no good faith or reasonable basis for denying Plaintiffs

          27 their chosen independent counsel to defend the Hindlin Action. Defendants dispute Plaintiffs'
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 K""p LLP                                                   5
                                                            COMPLAINT
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                          contentions, and assert that they have the right to control the defense of the Hindlin Action, to
                  2 select counsel for that purpose, and to reject MSK as Plaintiff's chosen counsel.
                      I
                  3              23.     A judicial declaration is necessary and appropriate at this time in order to resolve
                  4 the aforesaid dispute, and so the parties may ascertain their respective rights, duties and
                  5 obligations. Furtherrnore inasmuch as the Hindlin Action remains pending and must be defended
                  6 by Plaintiffs, Plaintiffs are entitled to preliminary relief ordering that Defendants reimburse them
                  7 for the fees and costs of MSK incurred in defending the Hindlin Action
                                 24.     Therefore, Plaintiffs request a judicial determination and declaration that
                  9 (a) Plaintiffs are entitled to select independent counsel to represent them; (b) Plaintiffs are entitled
                 10 to assume their own defense under the terms of the Policy; (c) Plaintiffs have properly exercised
                 11       their rights to assume their defense and choose MSK as their counsel in the Hindlin Action
                 12 pursuant to Civil Code Section 2860 or other applicable law, and under the terms of the Policy;
                 13 (d) Defendants have no good faith or reasonable basis for denying Plaintiffs the right to assume
                 14 their own defense and to select independent counsel pursuant to Civil Code 2860 or other
                 15 applicable law, and the tenns of the Policy; .(e) Defendants have no good faith or reasonable basis
                 16 forrejecting MSK as Plaintiffs' selected counsel in the Hindlin Action; (f) Defendants are
                 17 obligated to indemnify Plaintiffs and/or Core for the fees and costs incurred in defense of the
                 18 Hindlin Action by MSK; and (g) Defendants must immediately begin paying for said defense in
                 19 compliance with their obligations under the Policy and Section 2860 or other applicable law.
                20
                                                         SECOND CAUSE OF ACTION
                21                                  (BItEACI'I OF INSUItANCE CO1V'TItAC1)
                22               25.     Plaintiffs incorporate herein each and every allegation contained in paragraphs 1
                23 through 24, inclusive, above.
                24               26.    -Defendants' conduct in purporting to deny Plaintiffs their choice of counsel as
                25 alleged hereinabove constitutes a breach of Defendants' obligations under the Policy.
                26               27.     Further, Plaintiffs have incumd and will continue to incur attorneys' fees and costs
                27 in defending the Hindlin Action. Defendants have failed, refused and threatened not to indemnify
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                  1 Plaintiffs for the attomeys' fees and costs incurred by them in connection with defense of the

                  2        Hindlin Action by MSK in further breach of Defendants' obligations under the Policy.
                  3               28.     Plaintiffs and Core have performed all terms; conditions and covenants to be
                  4        perfonned on their part under the Policy, except as such performance is •excused or rendered
                  5        impossible by the acts, omissions and breaches of Defendants and their agents.
                  6               29.     As a direct and proximate result of the foregoing breaches, Plaintiffs have suffered
                  7 and will suffer damages in an amount to be proved at trial, but which Plaintiffs are informed and

                  8        believe and on that basis allege will exceed $25,000.
                  9
                                                       THIRD CAUSE OF ACTION
                 10                              (BREACH OF THE IMPLIED COVENANT OF
                 11                             GOOD FAITH AND FAIR DEALINGBAD FAITH)

                 12               30.     Plaintiffs incorporate herein each and every allegation contained in paragraphs 1
                 13 through 29, inclusive, above.
                 14        31. Defendants without justification and in bad faith have denied Plaintiffs' rights and
                 15 Defendants' obligations under the Policy by, among other things, (a) denying that Plaintiffs have
                 16 the right to assume their own defense and select independent counsel to defend Plaintiffs in the
                 17 Hindlin Action; (b) rejecting Plaintiffs' chosen independent counsel, MSK, without substantial
                 18 justification and in bad faith, and at least in part to punish MSK through Plaintiffs because MSK
                19 had the temerity to sue Ironshore in an unrelated matter; and (c) denying Defendants' obligation to
                20 reimburse Plaintiffs for the fees and costs incurred by Plaintiffs in defending the Hindlin Action.
                21                32.     As a direct and proximate result of the foregoing breaches, Plaintiffs have suffered
                22 and will suffer damages in an amount to be proved at trial, but which Plaintiffs are informed and
                 23 ' believe and on that basis allege will exceed $25,000.

                24                33.     Plaintiffs are informed and believe and on that basis allege that Defendants' actions
                25 and breaches as alleged herein were done willfully, maliciously and in conscious disregard of
                26 Plaintiffs' rights, and with the intent to annoy, harass or injure Plaintiffs or deprive them of their
                27 rights. Therefore, Plaintiffs are entitled to an award of exemplary damages against Defendants,
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                                                                     COMPLAINT
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                  1 and each of them, in addition to compensatory damages, to make an example of and punish
                  2 Defendants.
                 3          34.     Plaintiffs are informed and believe and on that basis allege that insofar as the fraud,
                  4 oppression and malice alleged hereinabove was based on the acts and conduct of an agent or
                  5 employee of Defendants, or either of them, officers, directors or managing agents of Defendants,
                  6 and each of them, had advance knowledge of, authorized or ratified such acts and conduct.
                  7
                  8          WHEREFORE Plaintiffs pray for judgment against Defendants, and each of them:

                  9          A.     On the First Cause of Action, for a declaration of the rights, duties and obligations
                 10                 of the parties, and specifically that:
                 11                 (i)       Plaintiffs are entitled to select independent counsel to represent them in the
                 12                 Hindlin Action;
                 13                 (ii)      Plaintiffs are entitled to assume their own defense under the terms of the
                 14                 Policy;
                 15                 (iii)     Plaintiffs have properly exercised their rights to assume their defense and
                 16                 choose MSK to defend them in the Hindlin Action pursuant to Civil Code Section
                 17                 2860 or other applicable law, and under the tenms of the Policy;
                 18                 (iv) Defendants have no good faith or reasonable basis for denying Plaintiffs the
                 19                 right to assume their own defense and to select independent counsel pursuant to
                 20                 Civil Code 2860 or other applicable law, and the terms of the Policy;
                 21                 (v)       Defendants have no good faith or reasonable basis for rejecting MSK as
                 22                 Plaintiffs' selected counsel in the Hindlin Action;
                 23                 (vi) Defendants are obligated to indemnify Plaintiffs for the fees and costs
                 24                 incurred in defense of the Hindlin Action by MSK; and
                 25                 (vii) Defendants must immediately begin reimbursing Plaintiffs for said defense.
                26          B.      On the Second and Third Causes of Action, for compensatory damages according
                27                  to proof;
  Mjwwi 28                  C.      On the Third Cause of Action, for exemplary and punitive damages;
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                                                                  COMPLAINT
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               1       D.   On All Causes of Action:
               2            (i)     For preliminary relief requiring Defendants to reimburse Plaintiffs for the
               3            attorneys' fees and costs they have incurred and will incur in defending the Hindlin

               4            Action;

               5            (ii)    For attomeys' fees and costs in prosecuting this action and securing

               6            insurance coverage;

               7            (iii)   For interest at the legal rate; and

               8            (iv) For such other and further relief as the Court deternunes to be just,

               9            equitable and proper.

              10,

              11 DATED: May 28, 2019                        Respectfully submitted,
              12                                            MITCHELL SILBERBERG dc KNUPP LLP
                                                            JEAN PIERRE NOGUES
              13i

              14 I
                                                            By:
              15                                                   J    xerre Nogu
                                                                   Attomeys for Plaintiffs
              16                                                   Lukasz Gottwald and Renee Karalian
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                                                          COMPLAINT
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              1                                   DEMAND FOR JURY TRIAL

              2        Plaintiffs hereby demand a trial by jury of all issues so triable in this action.
              3

              4
                  DATED: May 28, 2019                          Respectfully submitted,
              5
                                                               MITCHELL SILBERBERG & KNUPP LLP
              6                                                JEAN PIERRE NOGUES
              7

              8                                                By:
                                                                     Je'&rKerre Nogu
              9                                                      Attorneys for Plaintiffs
                                                                     Lukasz Gottwald and Renee Karalian
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                                                            COMPLAINT
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                  EX IBIT A
               Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 13 of 50 Page ID #:19
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                 SUPREME COURT OF THE STATE OF NEW YORK
                 COUNTY OF NEW YORK
                                                                               lndex No.:
                 JACOB KASHER HINDLIN,
                                                                               SUMMONS
                                                    Plaintiff,
                 -against-                                                     Plaintiff designates New York
                                                                               County as the place of trial.
                 LUCASZ GOTTWALD, LAWRENCE J.
                 SPIELMAN and RENEE KARALIAN,                                  The basis of the venue
                                                                               is a defendant's place ot business
                                                    Defendants.



                        YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve a

              copy of your answer, or, it' the complaint is not served witlh this summons, to serve a notice of

              appearance, on the Plaintit3's Attorney(s) within twenty (20) days after the service of this

              suminons, exclusive of the day of service (or within 30 days after the service is coinplete if this

              sumryions is not personally delivered to you within the State of New York); and in case of your

              failure to appear or answer, judgment will be taken against you by default for the relief demanded

              in the complaint.

              Dated: New York,lVew York
                     January 23, 2019
                                                                        GARVEY SCHUBERT BARER, P.C.



                                                                        By:/             `2P~
                                                                        , `—'•Andrew 4. @oodman, Esq.
                                                                              Attorney for Plaintiff
                                                                             't      l Street, 2011 Floor
                                                                              New York, New York 10005
                                                                              (212) 965-4534
                                                                              a000drnan@gsbiaw.com




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NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 01/29/2019



              SUPREME COURT OF THE STATE OF NEW YORK
              COUNTY OF NEW YORK
                                                                          Index No.:
              JACOB KASHER HINDLIN,

                                             Plaintiff,                   COMPLAINT
              -against-

              LUCASZ GOTTWALD, LAWRENCE J.
              SPIELMAN and RENEE ICARALIAN,

                                             Defendants.



                    Plaintiff, by his attorneys Garvey Schubert Barer P.C., complains of the Defendants and

           alleges:

                                                    Ile1TRODUCTION

                    1.     This is an action arising out of the abuse of their position by the members of the

           Board of Managers of Core Nutrition LLC ("Core"), a Delaware limited liability company, to

           divert to themselves at the expense of Plaintiff (and Core's other minority equity holders) a grossly

           unfair and unreasonable allocation of the consideration obtained in the acquisition of Core by a

           publicly traded company ICeurig Dr. Pepper Ii►. ("1CDP") to which they were not entitled,_ in

           violation of their fiduciary duties to Plaintiff (and Core's other minority equity holders) and in

           breach of their contractual obligations of good faith and fair dealing.

                                                          PARTIES

                    2.     At all times hereinafler mentioned, Piaintiff was, and is, a highly successful writer

           and producer of contemporary popular music for many major and well-known recording artists.

                    3.     At all relevant times, Defendant Lucasz Gottwald ("Gottwald') was, and is, a

           highly successful music industry publisher and producer, controlling companies that enter into

           long-term agreements with writers and producers, including Plaintiff. Each of these agreements



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         requires the writer or producer signing with Gottwald to irrevocably submit to the jurisdiction of

          the courts in the City, County and State of New York as the sole venue for resolving disputes, as

         a result of which Gottwald has a substantial and continuous contact with this State. Gottwald,

         although upon information and belief, not a registered or licensed broker/dealer and not affiliated

         with one, promotes various securities investments to his stable of writers and producers. Core was

         one such investrnent.

                 4.     At all relevant times, Defendant Lawrence Spielman ("Spielmad') was, and is, a

         certified public accountant with his principal place of business within the City, County and State

         of New Yorlc. Spielman was, and is, Gottwald's business manager, and at Gottwald's urging also

         serves as business manager for a number of songwriters and producers signed to Gottwald's

         companies. At Gottwald's urging, Spielman also became Plaintiff s business manager, and served

         as Plaintiff's business manager from in or about November, 2010 to in or about July, 2018.

                 5.     While Spielman was business manager for both Plaintiff and Gottwald, he brought

         to Plaintiff's attention various investments being promoted by Gottwald, and although Spielman

         is not registered or licensed as an investment advisor or broker/dealer, he repeatedly advised

         Plaintiff as to the investments being promoted by Gottwald, including Core.

                 6.     At all relevant times, Defendant Renee Karalian was and is a partner in a law firm

         with offices in both New York and Los Angeles that provides ongoing and regular corporate and

         related commercial law services to Gottwald and his entities both in New York and elsewhere.

         Karalian is one of the attorneys at the firm responsible for providing such legal services to

         Gottwald and his entities.

                 7.     Upon information and belief, at all relevant times Gottwald, Spielman and Karalian

         were members of Core's Board of Managers, and Gottwald was a co-founder and Chief Cultural


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         Officer of Core. The basis of Plaintiffs information and - belief is a private placement

         memorandum issued by Core in or about October, 2015.

                                     PLAINTIFF'S CORE IIVYESTMENT

                8.      In or about June, 2015, Plaintiff leamed from Gottwald and/or Spielman that

         Gottwald was promoting an investment in Core, then a developmental project.

                9.      In or about February, 2015, on Spielman's advice, Plaintiffagreed to invest $(2,000

         in Core and received 2,000 units for his investment.

                10.     In connection with his initial investment, Plaintiffwas directed by Spielman to sign

         a document entitled "Joinder Agreement and Signature Page to Limited Liability. Company

         Agreement of Core Nutrition, LLC" (the "Joinder Agreement").

                11.     Although the Joinder Agreement states that "the undersigned" certifies that he "has

         had the opportunity to review a copy of [Core's] Limited Liability Company Agreement," in fact

         Plaintiff was never afforded such an opportunity and to this day has never seen that Limited

         Liability Company Agreement, despite his demand that he be provided a copy.

                12.     Upon information and belief, in or about January, 2017, Gottwald directed Core's

         president, Paul Nadel, to send Plaintiff a link to a Private Placement Memorandum for Core's then

         ongoing fundraising.

                13.     Again relying on Spielman's recommendation, Plaintiff agreed to purchase another

         2,000 Core units, this tnne for $120,000.

                14.     Gottwald sent Spielman an email dated Febtuary 16, 2017 with instructions to tell

         Plaintiff that he must fund his investment inunediately. Upon information and belief, this email

         was intended to spur PlaintifPs investment of $120,000 in Core.




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                                            THE-KDP ACQUISITION

                 15.    On or about October 1, 2018, Plaintiff received notice from Core that it had entered

          into an Agreement with KDP for the latter to acquire Core (the "KDP Acquisition") for an

         enterprise value of $525,000,000 payable with a combination of cash and KDP shares (to be

         registered at time of closing to permit public sale), subject to adjustments.

                 16.    The KDP Acquisition closed on or about November 30, 2018 for an adjusted

          aggregate transaction value of $449,462,907.

                 17.    Plaintiff's Core K-I for 2017 showed that Plaintiff owned approximately .613% of

         Core's capital at year end 2017. Applying that percentage to the aggregate transaction vaiue,

         Plaintiff should have received $2,755,207 in cash and stock on the closing of the KDP Acquisition.

                 18.    On the actual closing, however, Plaintiffwas advised that he was entitled to closing

         consideration of only $393,582.89, leaving an unaccounted balance of $2,361,624.73.

                 19.    Even to obtain this reduced amount, Plaintiff was required to sign a general release,

         which he declines to do.

                                    CORE'S VARIOUS EXPLANATIONS FAIL

                 20.    Of course, Plaintiff sought an explanation from Core for this gross disparity.

                 21.    One reason provided by Core seems actually to be an admission of improper

         dilution of minority equity holders by excessive and wholly unparticularized so-called "Incentive

         Units," constituting approximately 18% of the Core units exchanged for KDP shares, or in excess

         of $80,000,000. Yet, and despite Plaintiffs request for this information, Core has refused to

         identify the recipients of "Incentive Units", the date that the Units were issued, the documents and

         corporate actions authorizing the issuance of the "Incentive Units" or the basis on which Core

         determined how many "Incentive Units" to issue to each recipient.



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                 22.     A similarly large allocation of acquisition consideration — 2,926,755 KDP shares —

         went to Spielman individually and to entities which he controlled. The amendment to the

          registration statement filed with the United States Securities and Exchange Commission ("SEC")

         reflect a maximum contemplated per share transaction value of $26.43; and dividing the

          transaction consideration Core allocated to Plaintiff by the number of shares he received results in

         a$26.36 per share transaction value. Even at a flat $26 per share, the transaction consideration to

          Spielman was over $76,095,630.

                 23.     Plaintiff has repeatedly asked Spielman and his firm to account to him for, inter

          alia, the Core transactions. Spielman has repeatedly failed and refused to do so, and a special

         proceeding to compel his accounting is presently sub judice in this court sub nom Jacob Kasher

          Hindlin v. Lawrence J. Spielman et ano., index no. 158642-2018.

                 24.     Thus, just Incentive Units and Spielman soaked up well more than a third of the.

         acquisition consideration.

                 25.     Financial infonnation received from Core further demonstrates the existence of

         other improperly dilutive units.

                         A.     Plaintiff invested $12,000 in 2014 for 2,000 units, and $120,000 for an

                                additional 2,000 units in 2017. Accordingly, the cost per unit to Plaintiff in

                                2017 was $60. As reflected in the information Core provided, excluding

                                Incentive Units, 3,428,777 total units were issued and outstanding at the end

                                of 2016; 3,700,606 at the end of 2017; meaning that 271,829 units

                                (excluding Incentive Units) were issued in 2017. At $60/unit, that should

                                have resulted in $16,309,740 in new capital to supplement the $8,363,316

                                year end 2016 capital, which means total 2017 capital availability of


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                                 $24,673,056. There was $1,441,971 of capital at year end 2017, so that at

                                 $60/unit, Core would have had to have burned through $23,231,085 of

                                 capital in 2017.

                         B.      However, it appears that Core's capital losses were far less. PlaintifPs

                                 allocated GAAP Book Loss was $112,644. Applying Plaintiff's .613%

                                 capital share, it appears that the total capital loss was $18,375,856, leaving

                                 an unaccounted balance of $4,855,228. The difference must be even greater

                                 given non-cash GAAP items such as depreciation and arnortization.

          It is thus apparent that Core issued a number of dilutive units, exclusive of Incentive Units, at much

          less than $60/unit.

                 26.     Core also argued in pre-litigation correspondence that Plaintiff's percentage of unit

          ownership rather than capital percentage governs. But that begs the question as to why Plaintiff s

          percentage of inembership ownership is so far diluted below his capital percentage.

                 27.     As to be expected, when Plaintiff first invested, his capital and unit ownership

          percentage were about equal. In each subsequent year through 2016, his percentage membership

          interest was 3 to 4 times greater than his percentage capital interest. By the end of .2017 — and

          despite having invested another $120,000 — for the first time his percentage membership interest

          was less, indeed far less, than — only about 15% of — his percentage capital interest. This hardly

          seems coincidental given the timing of the KDP transaction.

                 28.     The analysis in paragraphs 25 through 27 above was brought to the attention of

          Core's counsel by letter dated December 18, 2018, which asked for fiuther infomzation. Rather

          than providing any forther information, counsel responded by letter dated December 20, 2018

          accusing Plaintiff's counsel of harassment and rattling the sanctions saber.


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                29.       This action, of necessity, follows.


                                            FIItST CAUSE OF ACTION
                                 (Breach of Covenant of Good Faith and Fair Dealing)

                30.       Plaintiff repeats and realleges paragraphs 1 through 29 above as if fully set forth at

         length herein.

                Wa        Core's Board of Managers, including but not limited to Defendants, had an

         obligation to perform their duties and responsibilities under the Limited Liability Company

         Agreement in good faith towards, and fair dealing with, all Core members, including Plaintiff (and

         all minority members).

                31.       Core's Board of Managers, including but not limited to Defendants, failed to

         discharge their responsibilities in good faith and dealt unfairly with Plaintiff (and all minority

         members) by acting in such a way as to grossly dilute minority membership in favor of Core

         insiders including specifically Spielman and, on information and belief, Gottwald as a co-founder

         of Core.

                31.       By reason of the foregoing, Plaintiff has been damaged in the sum of $2,755,207.


                                           SECOND CAUSE OF.ACTION
                                             (Breach of Fiduciary Duty)

                32.       Plaintiff repeats and realleges paragraphs 1 through 29 above as if fully set forth at

         length herein.

                33.       The members of Core's Board of Managers, including but not limited to

         Defendants, had a fiduciary duty to all of Core's members, including minoritiy members, to not act

         to favor themselves at the expense of the best interest of all members.




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                 34.        By acting in such a way as to grossly dilute minority membership in favor of Core

          insiders including specifically Spielman and, on information and belief, Gottwald as a co-founder

          of Core, the members of the Core Board of Managers, including Defendants, breached that

          fiduciary duty.

                 35.        Upon information and belief, Defendants acted intentionally, willfully and

          maliciously to enrich themselves at the expense of Core's other members.

                 36.        By reason of the foregoing, Plaintiff has been damaged in the sum of $2,755,207

          and is entitled to punitive damages.

                 WHEREFORE Plaintiff Jacob Kasher Hindlin respectfully requests that judgment be

          entered jointly and severally against Defendants Lucasz Gottwald, Lawrence Spielman and Renee

          Karalian:

                 A.         On the first cause of action, for actual damages in the sum of $2,755,207 with

          interest thereon from November 30, 2018;

                 B.         On the second cause of action, for actual damages in the sum of $2,755,207 with

          interest thereon from November 30, 2018 and punitive damages of $5,000,000;

                 C.         For the costs and disbursements of this action, including reasonable attorneys' fees;

         and

                 D.         Foc such other, further and different relief as the Court deems just and proper.



         Dated: New York, New York
                January 23, 2019




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                                                    GARVEY SCHUBERT BARER, P.C.



                                                    By:
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 AITORNEY OR PARTY WnHOUT ATrORNEY (Alame, SY®r® eermunbei •ndeWakkI;                                                      FOR COuRPU3H oNLY
   MITCHELL SILI3ERBERG & KNUPP LLP
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    cmaraDziPcooE: Los Angeles, CA 90012
     BRANDII HAME Central District
  CASE NAMs: LUKASZ GOTTWALD and RENEE KARALIAN vs. LIBERTY
  INSURANCE UNDERWRITERS, INC., et al.,
     CIVIL CASE COVER SHEET             Complex Case Deeignation                                            cASEra'aBER:
 ® Unlimited         ❑              Limited
                                                            ❑      Counter         ❑      Joinder
    (Amount                         (Amount
    demanded                        demanded is           Fifed vrith lirst appearance by defendant          JDOm
    exceeds $25,000)                $25,000 or less)          (Cal. Rufes of Court, rule 3.402                DE~~
                                            ltems 9-6 below must be compfeted lsee Jnstnrctions on aa_ae 21.
1. Check one box belouv for the case type that best describes this case:
   Auto Tort                                            Contract                                    Provislonaliy Complex Civii Litigatlon
   ❑ Auto (22)                                          ❑ Breach of contracNwarranty (Os)           (Cal. Rules of Court, rules 3.400-3.403)
   ❑ Uninsured motorist (46)                            ❑       Rule 3.740 collections (09)         ❑      AntitrusNrrade regufation (03)
   Other PIIPD/WD (Personal lnjurylProperty             ❑       Other eopections (09)               ❑      Construction defed (10)
   DamagelWrongful Death) Tort                          ®       Insurance coverage (18)             ❑ . Mass tort (40)
   ❑       Asbestos (04)                                ❑       Other contrad (37)                  ❑      Seeurities IHigation (28)
   ❑ Pfoduct Ilebilily (24)                             Real Property                               ❑    EnvironmentaUroxie tort (30)
   ❑ Medioal malpractice (45)                           ❑ Eminent domainlinverse                    ❑    Insurance coverage ciaims adsing from the
   ❑ Other PIIPDNUD (23)                                      eondemnation (14)                          above listed provisionally complex case
   Non-PIIPDIWD (Other) Tort                            ❑ Wrongful eviction (33)                         tyPn (41)
   ❑ Business torUunfair business pracBee (07)          ❑ Other r®al property (26)                  Enforcement of Judgment
   ❑ Chril rights (08)                                  Unlawful Detainer                           ❑    Enforcement of jud8ment (20)
   ❑ Defamatlon (13)                                    ❑ Commercial (31)                           Mlacellaneous Civll Complalnt
                                                        ❑                                           ❑     RICO (27)
   ❑       Fraud (16)                                           Residantial (32)
   ❑ Intellectual property (19)                         ❑ Drugs (38)                                ❑ Other complaiM (not spedfl®d ebove) (42)
   ❑ Professlonai negiigence (25)                       Judicial Review                             Miecellaneoue Civil Petition
   ❑ Other non•PUPDMlD tort (35)                        ❑ Asset forfeHure (05)                      ❑    Partnership and wrporale governance (21)
   Employment                                           ❑ Petitlon re: arbitretion award (11)       ❑ Other pettUon (not speci/led above) (43)
   ❑ Wrongful termination (36)                          ❑ WrR of mandate (02)
   ❑       Other employment (15)                        ❑       Other judiciaf review (39)
2. Thls case         ❑ is ® is not eomplex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptionai judid®I management:
    a. ❑ Large number of separately represented parties d, ❑ Large number of witnesses
    b. ❑ Extensive motion practice raising difticult or novel e. ❑ Coordinatfon wfth related actions pending in one or more courts
           Issues that wlll be time-consuming to resoive           In other c,ountles, states, or countries, or In a federal court
    c. ❑ Substantial amount of documentary evidence           f. ❑ Substantial postjudgment judiciaf supervlsion
3. Remedies sought (check all that apply): a. ® monetary b. ® nonmonetary; dedaratory or InJunctivve relief         c® punitive
4. Number of rauses of action (specify): 3—Deciaratory Relief, Breach of Contract, Insurance Bad Faith
5. This case ❑ is ® is not a class action suit.
6. If there are any known related cases, fife and serve a notice of related case. (YpuiMuse lonn CM-015.)
Date: May 28, 2019
  Jean Pierre Nogues                                                                 ►
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                                                                          NOTICE
  • Plaintiff must file this cover sheet with the first paper flled in the action or proceeding (except small daims cases or cases fiied
    under the Probale Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failun; to file may result
   in sanctions.
 • File this cover sheet in addifion to any cover sheet required by local court rule.
 • If this case is compiex under rule 3.400 et seq. of the Califomia Rules of Court, you must serve a copy of this cover sheet on all
   other parties to the action or proceeding.
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used !or statistical purposes only.

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          m                                             CIVIL CASE COVER SHEET                                        Cel. slenderds of Ju~al AdmoiosUetion, ald 3.10
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          Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 24 of 50 Page ID #:30
                                                                                                                                        CM-010
                                     INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintlffs and Others Filing First Papers. if you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the CIW! Case Cover Sheef contained on page 1. This information wAl be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of ac6on, check the box that best indicates the primary cause of aotion.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a oover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sancUons under rules 2.30 and 3.220 of the Califomla Rules of Court.
To Parties in Rule 3.740 Collections Caees. A"collections case° under rute 3.740 is defined as an action for recovery of money
owed in a sum stated to ba certain that Is not more than $25,000. exclusive of interest and attomey's fees, arising fram a transaction in
which property, senrices, or money was acquired on cred'd. A collections case does not include an acdon seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 coAections case on this form means that il will be exempt from the general
time for-service requirements and case management rules, unless a defendent files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Partiea in Complex Cases. In complex cases only, parties must also use the Civil Csae Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the Califomia Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintdf designates a case as complex, the cover sheet must be served with the
complaint on all parties to the acfian. A defendant may iile and serve no later than the time of Its first appearance a joinder in the
piaintifPs designation, a counter-designation that the case is not compiex, or, if the plaintiff has made no designatlon, a designation that
the case is compfex.
                                                          CASE TYPES AND EXAMPLES
Auto Tort                                       Contract                                           Provlsionally Complex Clvll LlUgatlon (Cal.
    Auto (22)-Perrsonal Injury/Property             Brieach of CorMidAllrarrenly (06)              Rules of Court Rules 3.400-3.403)
         DamageMlrongful Death                           Breach of RentaUi.ease                         AnthrusVrrade Regulation (03)
    Unlnsured Motorist (46) (Jf the                         Contract (nof un/awhrf defainer             Constructlon Defect (10)
         case invohres an unfnsured                             or wvangld evic8on)                     Claims Involving Mass Tort (40)
         motorisf daim subjed fo                        ContractlYVarraMy Breact-Seller                 Securities Litigatlon (28)
         arbitrafion, d►eck this item                       Plaintiff (not fiaud ornegGgence)           EnvironmentaUroxdc Tort (30)
         lnsteed ofAuto)                                NegBgent Breach of CoMractl                     Insuranoe Coverage Claims
Other PUPDMID (Personal Injury/                              Warrarriy                                      (aris)ng fmrn pravlsionafy complex
 Property DamagaMlrongful Death)                         Other Breach of ContractMfarranty                  case rype listed above) (41)
Tort                                                CofleecUons (e.g., money owed, open             Enforcement of Judgment
    Asbestos (04)                                       book accounts) (09)                             Enforcemant of Judgment (20)
        Asbestos Property Damage                        Collsctlon Case-Seller Plaintiff                    Abstract of Judgment (Out of
        Asbestos Personal Injury/                       Other Promissory NotelCoAecNons                         County)
             Wrongful Death                                 Case                                            Confession of Judgment (non-
     Product Liability (not asbesfos or             Insurance Coverage (not provisionaUy                         domestic re/ations)
           toxk/environmenteQ (24)                      oomplex) (18)                                       Sister State Judgment
    Medicai Malpraetice (45)                            Auto Subrogation                                    Administretive Agency Award
         Medical Maipractice-                           Other Coverage                                          (not unpald taxes)
              Physicians 8 Surgeons                 Other Contract (37)                                     PetitionlCertirication of Entry of
         Other Professional Heailh Care                 Contradual Fraud                                         Judgment on Unpaid Taxes
              Malpractice                               Other Contract Dispute                              Other Enforcement of Judgment
    Other PI/PD/WD (23)                          Real Property                                                  Case
         Premises Liabil3ty (e.g., slip             Eminent DomaWinverse                            Miscellaneous Civil Complaint
         and faln                                       Condemnation (14)                               RICO (27)
         Intentional Bodily InjurylPDIWD            Wrorrgftd Eviclion (33)                            Other Complaint (not specfied
              (e.g., assault, vandalism)            Other Real Property (e.g., qutet title) (26)            above) (42)
         Intentional Intifction of                      Wrfi of Possession of Real Property                Deciaratory Relief Only
              Emotional Distress                        Moitgage Foredosure                                 Injunctive Relief Only (non-
         Negl'aJent Infliction of                       QuWt TOIe                                               harassmantJ
              Emofional Distress                        Other Real Property (not errrinent                 Mechanics Llen
         Other Pf1PDM►D                                  domain, lendiorWtanant or                          Other Commercial Complalnt
Non-PIIPDNVD (Other) Tort                                roreclosare)                                           Case (non-toA/non-aompfex)
   Business ToffNnfair Business                  Untawful Detalner                                          Other Civil Complaint
       Practtce (07)                                Commercial (31)                                             (non-torf/non-cornplex)
    Civil Rights (e.g., discrimination,             Resldential (32)                                Mlscellaneous Clvll Petltion
       false anest) (not dvA                        Drugs (M) (Uthe case hrvoJves rvegai                Partnefship and Corporate
       harassmenf) (08)                                  dnrgs, chedr this item; otherwise,                 Govemance (21)
   Defamation (e.g., slander, libeq                      report es Caurunereial or Residenflal)         Other Petitlon (nof speeified
       (13)                                      Judiclal Review                                            above) (43)
   Fraud (16)                                       Asset Forfeiture (05)                                   Civil Hanissmant
   Intellectual Proparty (19)                       PetHion Re: Arbibaflon Award (11)                       Workplace Vialence
   Professlonal Negligence (25)                     Wdt of Mandate (02)                                     ElderlDependent Adult
       Legal Maipractice                                W66-4ldministrative Mandamus                             Abuse
       Other Professional Maipreclice                   Wr8-Mandamus on L6n$ed Coud                         EiecBon Contest
           (not medical orlegal)                             Case Matter                                    Petilion for Name Change
    Other Non-PUPDAND Tort (35)                         Vlfrit•-0ther Limfted Coud Case                     Petition for Relief From Late
Employment                                                   Revierr                                            Clalm
   Wrongful Tenninafion (38) Other                  Other Judicial Review (39)                              Other Civil Pelition
       Employment (15)                                  Rovlew of Health Offlcer Order
                                                        Natioe ot Appeal-Labor
                            -                                CommissioruotAapaels
CM►.010pRo,,..ay1.2oo71                            CIIVIL CASE COVER SHEET                                                                 rago2m2
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                                                                                                                             www FommWiuh9ow oom
           Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 25 of 50 Page ID #:31

 SHDRT TITLEi                                                                                           PASE NUMdEFf
 GOTTttVAt;D .us. LIBERTY CNSURANCE t1NDERWRfTERS, INC.

                              CIVlL CASE GQtfER SHEET ADDENaUIUt AND
                                      STATEMEEVT C3F LCICAT[()N
                (GERTEFICATE G1F GROUNDS Ft3R ASSlCNMENT TO Cf.1:URTHOUSE LODAT14N):
             Thts_form fs requi!'ed fsursuant to .Local Rule 2.3 ip alt new ci.vil case ftfings ln the Los Angeles Superior Court.



      Stop 9: After compEeting the Civit Case Cover Sheet (Judiciai Councii fnrm CM-010); find the exact ease type in
                  Column A that corresponds to the case type indicated in. the Civi! Case Cover Sheet.

     S.tBp 2: kn Column B, check the box for the type of action that best describes tFte nature of the case.

     Sttrp 3: In Column C, circle the numberwhich explains the reason for the court.filing location you have
                  chosen.
                                         Applicable Reasons far Choosing Court Fiting Logation (Gotumn C)

1. Class actions must be filed in the.Stanley Mosk Courthouse, Centrai District.       7. Location where. petitiqne.r resides.
2::Permiss'sve fifing in pentral district.                                             B. Location wherein defendantliespondent functions whoify.
3. Loc2tion rvhere cause of action arose,                                              S. Location where one or.more of the paities reside,
4. Mandatory personai injury fiHng in North District,                                  10: Location of Labor.Gommissioner ~ce.
6.. Loca#fon where performance required or defendant resides                           19.119andalory fitirng locatian.(tlub Cases — uniav+ful detainer; iimited
                                                                                       non-coiiectPon, iim.ted collection, or-persona( Injury).
6; Location of property_or permanentiy garaged vehicie.




                           Auto (22)               ❑ A7100 Motor Vehicie - Personai tnjurylProperty l3arriagetYJrongfut Death                 1, 4, 11

                    Uninsured Nlotorist (46)       ❑ ;A7114 Personei lnjury]Properfy l3amage/Wrongfut Cteath . tJnirisured Nlotorist          1, 4;1 i:


                         Asbestos (04)             ❑ A6070Asbestos Property Ramage
                                                   ❑ A7221 Asbestos - Personal InjuryA!Vrongfui Death                                             i 1#

                     Praduct Liabiiity (24)        ❑ A7260 Pradtrct Liability (not asbestbs or toziclenvirorimental)                          i, 4, 11

                                                   ~ A721.0.PJtetlicai Nlalpractice - Ptiysicians & Surgeons.                                 1,4' 1.1.
                   Medical Ntalpractice (45)
                                                   0 A7240 Ottier Protessioria! He..aith Care lutalpractice                                   '►, d, 11

                                                  [( .A725tI Premises Liabifity (e.g., srip and fall)
                        Other Personai                                                                                                        1, 4, S 1
                        inju ry P.rgperijr         ~ A7230 tntentional Bodii
                                                                           Y in
                                                                              j~Yu/ProP ertYDarna 9ef~tJron9fui Dealh(•9.•
                                                                                                                      e                       1, 4, 11
                      t3amage Vftiongful                   assault, vandaiisr», etc.)
                          ;Death (23)              0 A7270 iritentionai iniiiction of Emotionai Distress                                      t' 4' 1~
                                                                                                                                              1. , 4.1_t
                                                  ❑ A7220-Other personal In3uryJProperty DamagelVdrongful Qeath



                                                   {L DASE CQVER SHEET ADDENG                                                             Local Rufe 2.3
                                                                                                                                              Page 1 of 4:
                                                   APVt7. STATEMENT OF LOCATiON
                                                                                                                              ~ Amcrttan ! eg,►Alel, tn¢. ~
           Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 26 of 50 Page ID #:32

sp10RT TIriE                                                                                    CASE NUTABER
GOTTWALD vs. LIBERTY INBURANCE UNDERWRITERS, INC.

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                 ~~~-t 0 N~                 "                  v t                      Q                                ~                            a-
                                                                                                                       r•

                      Business Tort (07)        ❑ A6029 Other CommenciaVBusiness Tort (not fraud/breach of contfact)                1, 2, 3
   ~r.
   m12
   a$
                       Civ}I Rtghts (08)        ❑ A6005 Civii RightslDlscriminatlon                                                 1, 2, 3
   oB. ~
                       Defamatlon (13)          ❑ A6010 Defamation (slanderllibel)                                                  1, 2, 3

                          Fraud (16)            ❑ A6013 Fraud (no oontract)
    0.
   e.
   03:
                                                                                                                                    1, 2, 3

                                                                                                                                    1, 2, 3
   a. o
      e,       Professional NegBgence (25)      ❑ A6017 Legal Malpractice
   cE                                           ❑ A6050 Other Professional Matpractke (not medical or legal)                        1, 2, 3
   z
   ° ~°
                          Other (35)            ❑ A6025 Qther Non-Personal InjurylProperty ®amage tort                              1, 2, 3


     r;          Wrongful Termination (36)      ❑ A6037 Wrongful Terrninat(an                                                       1, 2, 3
     d
     E
                                                ❑ A6024 Other Employment Complaint Case                                             1, 2, 3
     0            Other Employment (15)
     a                                          ❑ A6109 Labor Commissioner Appeals                                                  10
     E
     tu
                                                ❑ A6004 Breach of RentaVLease Contract (not unlavuful detainer or wrongful          2.5
                                                           eviction)
               Breach of ContracU Warranty                                                                                          2,5
                             (06)               ❑ A6008 Contrad1V11arranty Breach -Seller Plaintiff (no fraud/negllgence)
                        (not Insurance)                                                                                             1, 2, 5
                                                ❑ A8019 Negligent Breach of ContracMNartanty (no iraud)
                                                                                                                                    1' 2' 5
                                                ❑ A6028 Other Breach of ContracUWarranty (not fraud or negligence)

                                                ❑ A6002 Collealons Case-Seller Plaintiff                                            5, 6. 11
                       Coll®ctions (09)
                                                ❑ A6012 Other Promissory NotelCollections Case                                      5,11
                                                ❑ A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                  6, 6, 11
                                                        Purchasod on or afler January 1 2014
                 Insurance Coverage (18)        ® A6015 Insurance Coverage (not complex)

                                                ❑ A6009 Contractual Fraud                                                           1. 2, 3, 5
                      Other Contract (37)       ❑ A6031 Tortlous (nterferenw                                                        1, 2, 3, 5
                                                ❑ A6027 Other Contract Dispute(not breactUinsurancelfraudlnegligence)               1, 2, 3, 8, 9

                 Eminent DomainJinverse
                   Condemnadon (14)             ❑ A7300 Eminent DomainlCondemnation                Number of parcets                2, 6

    ~              Wrongful Eviction (33)       ❑ A6023 Wrongfui EvicBon Case                                                       2.6
    g
     ~                                          ❑ A6018 Mortgage Foreclosure                                                        2.6
     ®
    a            Other Real Property (26)       ❑ A6032 Qulet Title                                                                 2.6
                                                ❑ A6060 Other Real Property (not eminent domain, landlordrtenant, foraclosure)      2.6

               UntaNfiul Detainer-Commercl2!
                             (31)               ❑ A6021 Unlawful Detainer-Commercial (not dnigs or wrongful eviction)               6,11
               Unlawful Detainer-Residentiel
                             (32)               ❑ A6020 Unlawful Detainer-ReshlenVal (not drugs or wrongfui evlction)               6.11
                  Unlawtul Detalner-Post-
                     Foreelosure (34)           ❑ A6020F Unlawful Detainer-Post-Foreclosure                                         2, 6, 11
               Unlawful Detainer-Drogs (38)        A8022 Untawful Deteiner-Dru s                                                   P. 6. 11
 LASC CIV 109 Rev.12/18                     CI1/IL CASE COVER SHEET ADDENDl1M                                                    Local Rule 2.3
 For Mandatory Use                                                                                                                 Page 2 of 4
                                                AND STATEMENT OF LOCATION
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          Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 27 of 50 Page ID #:33

POFkTTITLE:                                                                                         CASF. NW,MkBSR
GoT-MAW vs. LIBERTY INSURANCE UNDERWRItERS, INC.




                  Attet Fdrfeiture (00              A610B.Asset Forfeiiure Case                                          2.31 6

                Petition re Arbitration (11)     E] A6115 Petition to CompaYConfirmftcate Arblration                         2,5

                                                 E] A6151 Wrft -Administrative Mandamus                                  2, a
                  Wol of tOohdate (02)           Fl A6152 Wrft - Mandgmut on Lirriftecl Court Case Matter                    2

                                                 ❑ A61 51Writ - Other Limited *Coutt Case Review                         2

                Othet Judicial Review (39)          A61 50 Other Writ /Judicial Revievi                                  2,8

              AntitrustrTrade Regulation:(03) ❑ A6003 AntitrustlTrade RegulaUon                                          1,21 8
     I
                 Constructi. on Defert (.10)     M A607 constfucrion Ddfect                                                  1,2,3

               Ciai ms Involving. Mass Tort
    75.                     (40)                 EIA6006 claims invotving Mass Ton
     E
    0
    t)           Secu(ities Litioation (20)      ❑ A6035.Securities Ufloation Ctise                                      1, 2, 8

                        Toxic Tort
                    Environmental (30)           Fl A6036 Toic
                                                          xrnviren
                                                               TotlE6nmt4l                                                   1,2,. 3,8

               I nsuraiice Coverage.Claims
                                     .
                 from pomplex Ciise(41)          ❑ A6014.1nsurance Coverage/Subtdgatidn Ippmplek case dhly)                  I


                                                 E] A6141 Sister Stat-e Jodgment                                         7,5,11
                                                 El A6166 Abstract of Judgment                                           2,6

                       Enforcement.
                                                 0 A6107 Confession of Judgment (non-domestic relations)                 2,9
                    of Judgment (ZO)                A6140 Aclmlnistrative Agency Award (not.unpald taxes)                2,8
                                                 ❑ A61 `14 PefifiordCertificate for Entry Of Judgment on Unpaid Tax      21 8
                                                                                                                         -


                                                 ❑ A61 12 Other Entorciameint of Judgrnent Caise

                        RICO (21)                E] A6033 Racketeering (RIC0) Pase                                       11 2,8

                                                 EI.A603ODeclaratory Relidf Only                                         1,2,8

                   Oiher Complaints              El A6040 lnl'unctive Relief. Only (not domestictharassment)             2,8
               (Not Specirted Abo!ve) (42)       Fl A601 i Otber Commercial ComOlaint Case (hon-tortihbn-cbmplex)        1. .2.:8

                                                 0 A6060 Other Civil Complaint (nonotorl/non-complex)                    11 1 2, 8

                 Pirtnership Corporation
                     Governance (21)             E] A6113,, Pattnership and Corporate Govaintince Code                   2,8

                                                 [I'A6121 Civil:1-larassment With Damages                                2,3, 9
                                                    Atl 23 Workplace Harassment With Damages                             2, 3.,, 9
                                                    A612.4r Elder/136pendent AdultAbuse, Case With Damages               2,31 .9
                   bther Petitions (Not
                  Specified Above) (43)
                                                 El A6190: 0ection contest                                               2
   go                                            ❑ A6110 Petition for Charige of NarnelChange of Gander                  2. 7

                                                    A6170 Petition fbr Raiief-from Late Claim Law                        2,3,8
                                                 0 AOI 00 Mer.civil Oolition,                                            2,9


 LASC CIV: 109 Rev. 12/18                      CIVIL .CASE COVER SHEET ADDENDUM                                       Local R.ule .2.3
 For Liandatory Use                                                                                                     page 3 of 4
                                                  AND STATEMENT OF LOCATION
            Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 28 of 50 Page ID #:34

BHCRT TtTLE:                                                                        CASE NUMBER
GOTTWALD vs. LIBERTY INSURANCE UNDERWRITERS, INC.


Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
            type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
            (No address required for class action cases).


  REASON:                                                         1222 East Grand Avenue, #102

   ❑ 1.®2. ❑ 3. ❑ 4. ❑ 5. ❑6. ❑ 7. ❑ 8. ❑ 9. ❑10. ❑11.




  CIiY:                                  srATE:    I XIP CooE:
  EI Segundo                         I   CA         90245


Step 5: Certification of Assignment: I certify that this case is properiy filed in the Central                                   District of
               the Superior Court of Califomia, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule
               2.3(a)(1)(E)]•




  Dated: May 28, 2019
                                                                                 (81GNATURE OF ATTORN&MILAG PARTI)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1. Original Compfaint or Petition.
       2. If fiting a Complaint, a completed Summons fomn for issuance by the Clerk.
          3. Civil Case Cover Sheet, Judicial Council form CM-010.
       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
          02116).
          5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduied payments.
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the piaintiff or petitioner is a
          minor under 18 years of age will be required by Court in order to issue a summons.
          7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
             must be served along with the summons and complaint, or other initiating pleading in the case.




  LASC CIV 109 Rev. 12118                CIVIL CASE COVER SHEET ADDENDIJM                                          Local Rule 2.3
   For Mandatory use                                                                                                  Page 4 of 4
                                                  AND STATEMENT OF LOCATION
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         Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 29 of 50 Page ID #:35


                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
                                                                                                   FILED
        Mosk Courthouse                                                                  Sup ~s CfluR of Ca6fcsnia
                                                                                          County of Los Ang®les
 111 North Hill Street, Los Angeles, CA 90012
                                                                                               05/2812019
                   NOTICE OF CASE ASSIGNIVIENT                                    Shmi R Cafer, Eseoufi►a Offoff 1OedL of Caes1
                                                                                    gY         Rcmunda CfRM pepuiy
                          iJNLEVIITED CIVII. CASE


  Your case is assigned for all purposes to the judicial oflicer indicated below. 1 19STCV18364

                           TffiS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE             DEPT     ROOM                 ASSIGNED NDGE                  DEPT        ROOM
    d     Ruth Ann Kwan                   72




    Given to the Plain6ff/Cross-ComplainandAttomey of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 05/28/2019                                                     By Romunda Clifton                           , Deputy Clerk
                 (Date)
IACIV 190 (Rev 6118)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CI1/IL CASE
LASC Approved 05/06
          Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 30 of 50 Page ID #:36

                                  INSTRUCTIONS FOR HANDLING UNLINQTED CIVIIACASES

The following critical provisions of the Califomia Rules of Court, Title 3, Division 7, as applieable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTFIER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Ptooedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIlVIE STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shaIl be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court fust being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a pmof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days affter the filing of the
complaint. Counsel must be .fully prepared to discuss the following issues: altemative dispute resolution, bifurcation, settlement, .
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have subnutted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Thzee of the Los Angeles Superior Court Rules.

SANC'I'IONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadliaes established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Carefnl reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley. Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be retumed to an Independent
Calendar Courtroom for all purposes.

*Provisionallv Comnlex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. , If the case is deemed to be cwmplex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
retumed to an Independent Calendar Courtroom for all pucposes.




LACIV 190 (Rev 8118)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05106
Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 31 of 50 Page ID #:37




                                   VOt~UN'l"ARY Et;'FECPEFIT LMC-A'C!ON S'i'!PLYLATtONS

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                                     Th$ Early t?rganlzafilonai Meating Stipcatatian, Disco+tery
                                   Resotufian Stiputatlon, and Motions sn Ltmine SUputsttart ara
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                                   rnay enter into one, hvo, ot- ali tftree of tha s#iputstiores;
                                   howavar, they may not alter the stipu7afiions as wrttters,
                                   becausa €he Court LYarats to artsure uniformtty of appllcagon.
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Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 32 of 50 Page ID #:38




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 SUPERIOR C®tDRT OF CA.IFORNIA. COUP1T1f OE t.OS ANGELES




                 STIPl1[.ATION — DISCOVERY RESOLUTtON

      This stipulatlon is intended to pravlde a taet and informat resohoon of discovery issues
      through Ihntted papena►ork and an infonnal conierence wlth the Court to aid in the
      resoiutiorr of the tssues.
      The parfies agree that»
      1. Preor to Ihe diacovery cul-off In this acllon, no discovery moiion shait be fiied or heani unt®ss
         the moving party'first matces a writien n3quest tor an lnformal Discovery Conference pursuant
         to the lerons of thts sUpulaOon.
      2. At ihe tnfonnat Discovery Conferenee the Court will constder ihe dispute presented by parltes
         and detennine wttiether ft can be resoived lnlormaAy. Nothdng set forth hereSn wlil preduie a
         party irom making a record at the condusion ot an Infomial Discovery Conference, either
         oratiy orin writing.
      3. Foffowing a reasonable and good faiih attempt al an infomnal resofutIon of eaeh Issua ta be
         presenled. a party may request an Infannal Discovery Conference pursuanl to fite tolknNing
         prowdure5:

               a. The party requesting the tnformal Discovery Conference wm:

                  i. Fle a Request for lntormel Discovery Conference wtth the clerk's office on the
                       approved brm (copy altached) and deliver a courtesy, contosmed copy to the
                       assigned department;
                 U.     Include a brief summary of the dispute and specify ihe rallef requested; and
                tyi. Serve the opposing party pursuanl to any authorized or agreed melhott of s®rvice
                      that en5ur+es that the opposing pariy receivas the Request for Informa) Dlscovery
                      Conierence rw later than Ihe next court day toqow}ng the fiNng.
               b. Any Answer to a Request tor Informal Oiscovery Contemce nnu;1:
                 i.    Also be riled on the approved form (copy attached);
                 it.    lnclude a brtef summery of why the n3quested rallef sltould be derlied;

                                     STIPtJLAT10N — Q15t:OVF.RY RESOLUTION
                                                                                                       P%e 1013
Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 33 of 50 Page ID #:39




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             13.   8e med wfthln two (2) court days of receipt of the Request; and
             iv. 13e served on ft opposing party pursuant lo any authoriaed or agreed upon
                   melhod of service thal ensunes thal the opposing party recelvas the Answer no
                   later then the next court day fol(owing the filfng.
      c. No other pleadings, including bul not Nmtted to exldblts, declarations. or atfachments, w+ill
         be at:cepted.
      d. If the Court has not granted or denled the Request for Informal Dlscovery Conference
         within ten (10) days foltowing the Mng of Ihe Request, then (t sttialt ba deemed to have
         been denled. If the Court ads on lhe Request, the parlies wiDl be' notilied whether the
         Request for Infomnal Discovery Conference has been granted or denied and, If granted.
         Ihe dete and time of the Infonnal Qiscovery CoMerence, which must be wllhin twenty (20)
         days of the flting of the Requesl for Infornial Disoovery Conference.
      e. If the conferetxwe ts not held urithin twenty (20) days of the 591ng of ihe Request for
         Informal l0iscovery Conference, uriless extended by agreemenl of the perltes and the
         Court, then the Request for the Infoirnal Discovery Conference shall ba deemed to have
         been denied at that lim$.

   4. If (a) the Court has denied a conference or (b) one of the Ume deadflnes above has exptred
       wlthout the Court havfng acted or (c) Ihe Informal Diswvery Conferenae Is c.anduded witPoout
       resolving the dispute, then a party may file a dfscovery mogon to address unnesolved tssues.
   S. The parties hereby further agree that ft dme for malang a rnation to compet or other
      discovery moqon is tolted from the date of filEng of lhe Request ror Informaf oiscovery
       Conference untfi (a) the request is denjed or deemed denied or (b) tvrenty (20) days after the
       fiting ot the Request for Informal Discovery Confarence, whlchever is earlier. unless extended
      by Order of the Court.

      tt Is lhe understanding and lntent of the parUss that thls stipulatton shalt, for earh discovery
      dlspute to wtdch it appfias. eonstitute a wotfFng mernorialtzing a'spedfic laler date to which
      the pn4munding (or demandWg or requesUng) parly and the n3spondtng party hava agreed in
      wrlling; wllhin Ihe meaning of Code Civil Pror.adure secllons 2030.300(c), 2031.320(c), and
      2033.290(c).

   6. Nothlrg hendn wA predude any party fnxn apptying ex parte for appropriate rellef. Metuding
      an onhw shortening time for a moGon to bE heard concemlV discovery.
   7. Any party may termtrmte th9s st3pulallon by gMng twenly-one (21) days no0aO of Intent to
      tenntnate the stipulaUon.

   S. References to "days' mean catendar days, unless othenvise noted. If the date forperfomaing
      any act pursusnt to this slipulation Falls an a 5aturday. Sunday or Court hollday, than lhe lim
      for perfaming that act shaH be extended to lhe next Court day.



                             STIPULA7°IClN — DISCOVIaRY RESOLUTIAIV
                                                                                             Page 2 013
Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 34 of 50 Page ID #:40




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    The followitsg parties stipulate:
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    v~ca~~+mauan1                     STIPULATION - DlSCOVERY RESOlUTION
    Far OPUmtia1 Usa                                                                              Page 3 d 3
Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 35 of 50 Page ID #:41




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     ATSORNEYFDR          L.
 SUPERIOR COURT Ol= CALiFORNIA. COUNTY OF LOS ANGtELES
cou uss .

 PwKnFF:
 DEFENaANr:



          S1'IPULATION — EARLY ORGANi7ATIONAL MEETING

      This stiputation ts Intended to encourage cooperation among the parties at an early stage in
      the 1ltigation and to assist the partiea in efiicient case resolution.
      The parties agree that:
      1. The parties commit lo conducl an initial conference (irrperson or vla teleconference or vla
          videoconference) evithin 15 days from the date thls stipulatian Is signed, to dJscuss ertd cortsider
          whetherlhers can be agreemenP on the fallowhog:
           a. Are motlons to challenge the pteadings necessary? IF the issua can be resolved by
              amendment as of righl, or if the Court vaould allow leave lo amend. could an arnended
              complaint resolve most or ali of the Issues a demurrer might othenNise raise? If so, the parties
              agree to woak ftvough pleading Issues so that a demuffer need only ralse'issues they cannol
              resolve. Is the Issue that the defendant seelcs to raise arnenabie to resofution an demurrer. or
              would some other type of motion be preferable? Could a volunlary targeted exchange of
              documents or information by any party cura an uncerlainty In the pleadings?
           b. In1Ual mutual exchanges of doc.umenls at the 'core' of the litigation. (For exampte, In an
              employment case, the employment records, personnei Cle and documents relaling to the
              conducl In question couid be considered 'core.' tn a personal 1nJury case. an (ncident or
              pollce report, medica) records, and repalr or maintenance recards could be consldered
              'core');
           c. Exchange of names and contact intoRnatlon of witnesses;
           d. Any Insurance agreement tirat may be avaitable to sati.sfy part or all of a Judgment, or to
              Indemt9lfy or reimburse for peyments made to satlsfy a Judgment;
           e. F,cchange of any other infonnation that mighl be helpful to facHitate undeistanding, handGng,
            _ or resotulion of the case In a manner lhat preserves object'wns or privlleges by agreement;
           f. Controtling issues of law lhal, If resolved earty, vrriq promote efficiency and economy In other
              phases of the case. Also. when and how such issues can be presented lo Ihe Court;
           g. Whelher or vvhen the case shouid be scheduled wiih a setllement oll•rCer. v,rhat discovary or
              court ruiing on legai issues Is reasonably requked to enake setUement discussbns meantngful,
              and whether the parties wish to use a sitt)ng Judge ar a private medialor or other options as

      ~sc ~~~ed aea~ri i) ST)PULATION — EARLY ORGAMZAI7ONAL MEETING
      Ffx Optbr:al Use                                                                                    Pape I of 2
Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 36 of 50 Page ID #:42




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                 discuSsed In the'Aflemative l3ispute Itesoiden (ADR) tniormatlon Par.t¢age" served wlh the
                 comptaft
        h. Computattoo of damag$s, indudfng documeltt5, not privlbged or protected from dlsdosure, on
                 whleh such connputatton Is based;
        i. Whether the case Is sultable for t#o Exped3led Jury Telal procedures (see lnfomaation at
           wwowr.leERerrtoriov under't:tivr7 and Ihen evtider'GeneW Jnformalla»u).
   2.            The ltme for a de6ending party to respand (o a cnmplatnt or cross-oompleint wM be axteaded
                 to                              for lhe compl'a1nt, and                            for the cross^
                          (Dam met                                               NWIRMI
                 complainl, whteh is comprised o[ ft 30 deys to respond under Covetrment Code § 88816(b).
                 end the 30 days penmiMed by e:ode of Chril Prooedufs sedlon 1 q54(a), good cause havOng
                 bew fmind by the CivB Supenrising Judge due lv the case managernenl benefi#s pmvM®d by
                 tlds S6pulatEon. A copy ot Ihe Ganera! Order esn be found at arwr+►Jsraocnt.aro under "Clvq'.
                 cltck on "Gelrsrat lnlbrnnaflarr', then dick an `Volwatary FlfJclerit eftl®atbpt SfipedeUans'.
   3.            The padtas wf0 prepare a}oinl report tf8ed °Jolnt Status Report Pursuant tn In2iai Canferance
                 and Earty Orf}aeuzatlonal ARe®Iing 6ttpulatlon, ard if sEestred, a proposed order sunsmarizing
                 results ®f ltwk meet and confer and advisin ltse Court of any way it may assist the partlm'
                 ef8cW oonduct or resolution of Ihe cese. 'Ehe parlies shei; altech th® Jolnt Slatus Report to
                 ttn: Case Mamooment C®nference stalement, and !'ile tha documents when the CMC
                 statament Is due.
   A.            References to'days' ntean catendar days, unlss gtherwise rooted. I[ the date for perfonning
                 any ad pursuant to 1his sltpulaUon ialls on a Safurday, Sunday or Cotert holtday, then the time
                 for performing ttuii act shatl be extended to ft next Couri day
   The dolJowing parliee stiputate:


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Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 37 of 50 Page ID #:43




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 SUPERIOR COUR'i' OF CALIFORN1Ar COUNTY OF LOS ANGELES
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PNN/lrtF'F:

CEFENDANT.

                       INFORMAL DISCOVERY CONFERENCE                                             "AM
                (pumuant lo the Discoyary RescluUon SUpoaUan ot the parUes)
     1. This document retates to:
                  ❑          Request for Intormal Discovery Conference
                  []         Answer to Request for informal Dtscovery Conference
      2, peadllne for Court to decfde on Request:                                      lW,-.va date +o cafrndar days focond,g rmnQ of
              IAe Reouosl)

      3. Deadllne for Court to hold tnformal Discovery Conference:                                           ltnsea dste zo o►enav
              darm (o4oxMg rilnp or tho Requeat).
      A. For a Request far Informaf Discovery Conferencer kriefly describe the nature Qf the
         dlscovery dlsputer lnctuding (hB facts and legat arguments at issue. t or an Answer lo
         Request for Informal Discovery Confereneer brtetiv dosertbe why the Court shoutd deny
         the requested diseoveryr Including the faets and legal arguments at issue.




     ""''"'"'      )
              g"°"'04111                     1NFORMAL DtSCOVERY CONFERENCE
     lASC Appmwd
     Far a,uona! uce                 (pursuant to the Discovery Resolutlon SUpulallon of Ihe parlies)
Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 38 of 50 Page ID #:44




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                STiPUt..ATiON AND ORDER - MOTIONS IN LIMINE


       This stipulation is Intended to provide fast and informal resolution of evidentiary
       issues through diligent efforts to define and discuss such Issnes and limit paperwork.

       The parties agree thata
       'i. At least       days before the finai status conference, each pariy wlll provide ali other
           parties with a Nst containing a one paragraph expianaGon of each proposed rnotton in
           limine. Each one paragraph explanatlon must iden6fy the substance of a single proposed
           rnotion in limine and the grounds for the proposed motlon.
       Z. The parites thereafter will rneet and confer, either in person or vfa teieconference or
          videoconference, conceming all proposed molions in iimine. In Ihat meet and confer, the
          parties will detennine:
               a. Whether the parties can slipulate to any of the proposed motions. if the parties so
                  stipufate, they may file a stipuietion and proposed order with the Court.
               b. VYhelher any of the proposed motlons can be briefed and submllted by rneans of a
                  short joint statErnent of issues. For each moUon which can be addressed by a short
                  joint statement of issues, a short joint statement of Issues must be ffled with the Court
                  10 days prior to the final status conference. Each side's poriion of the short joint
                  statemenl of Issues may nol f3xceed thrne pages. The parties wlti nteet and confer to
                  agree on a date and manner for exchanging the parlfes' respective portions of the
                  short )oinl statement of issues and the process for fiiing the sho►t joint statement of
                  issues.
      3. AU proposed motions In limine that are not either the subject of a slipulaUon or briefed via
          a short joint statement of issues will be briefed and flled in accordance with the Califomia
         Rules of Court and the t_os Angeles Superior Court Rules.




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      ascr~~io,                STIPULATION AND ORDER - iiA0Ti0NS IN LIMINE
      For opUon81 Usa                                                                             Page 1 of 2
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        The foltowing parties stipulate:
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       THE COURT SO ORDEFtS.
         Date:
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   Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 40 of 50 Page ID #:46




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                                          Superior Court of California, County of Los Angetes

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What is ADR?
AbR helps people find sohcttons to their legal disputes without going to trial. The main types of A®R are negotiation,
mediation, arbitration and settlement conferences. When ADR Is done by pfione or computer, It may be c~dged Online
Dispute Resofution (ODR). These "alternatives° to Iitlgatlon and trlal are desaibed below.

Advantases of AttOt
     •        Saves Ttme: ADR Is faster than going to trial.
     •        Saves hitoney: Parties can save on court costs, attome ►'s fees and wttness fees.
     o        Iteeps Contrdl with the parties: Parties choose thetr AOR process and provkier for voluntary AAR,
     •        Reduces stress/protecb prtvacy: ADR is done outsfde the courtroom, in private of4lces, by phone ar online.

Q~advantaaes of ADR
     • Casts: If the parties do not rasoWe thely dispute, they may have to pay for ADR and litigation and trial.
     ® N® Public Tria1: ADR does not provide a publit tr3al or a decision by a Judge or Jury.

Main Tvoes of ADR:
     L Negotlation: Parties often talk tn+ith each other in person, or by phone oroniine about resolving thelr case with a
       settlonent agreement lnstead of a trial. If the parttes have iawyers, they wbH negotiate for thetr dients.

     2. Mediation: In mediatlon, a neutral "mediatos" Ilstens to each person's concerns, helps them evaluate the
              strengths and weakne5ses of their case, aad works with them to try to create a aettlement agreement that is
              aeceptabie to all. Medlators do not dedde the outcome. Patties may go to trial R they decide not to settte.

                                  Mediatfon ma}► be apgroprlate when the partie5
                                     • want to work out a solution but need hefp from a neutral person.
                                     • hava commurtkatfon probfiE`nQs orstcong emoWns dhat rMerli:re wfth nesoWen.
                                  Mediatlon may not be appropriate when the parties
                                     • want a publit trial and want a Judge or jupy to dedde the outcome.
                                     • lack equa} bargaining power or have a history of physi®1/emotionat abuse.

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            3. 1lrt,ltradon: p►rbiiration is less formal than triaE, but like trbf, the partks preseat evJdence and arguments to the
               person who decides the outtome. In 'bindh►g° arbftratlon, the arbitrator's decision is Fiaal; thare is no right to
               trial. ln "nonbinding" arbltratlon, any party can request a trial after the arbitratot's deeis{on. For more
               information about arbitration, visit hst~:/Iwww.courts.ea.c+av arQarams-adr.htm

          4. Mandatory Settiement ConFerences (MSC): MSCs an: ordered by the Court and are often held dose to the trla!
             datre. The partfes and their attorneys meet with a Judga orsettlernent oHicer who does not make a dedsion but
             assists the parties in evaluating the strengths and weaknesses of the case and in negotlating a settlement.
             for inforrnation about the Court's iWSC ptograms for cimil cases, visit: www.iacourt.oEddivisimn/civti/settisment




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5                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
6                                  FOR THfi COUNTY OF LOS ANGELES
7

8 IN RE LOS ANGELES SUPERIOR COURT ) F1RST "AMENDED GENERAL ORDElt
9 — MANDATORY ELECTRONIC FILING )
   FOR CNIL                       )
10                                                 )
                                                   )
11                                                 ~
12          On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all
13   documents in Limited Civil case5 by litigants represented by attomeys. On January 2, 2019. the Los
14 Angeles County Superior Court mandated electronic filing of al1 documents filed in Non-Complex
15   Unliniited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
16 All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the
17 following:
18 1) DEFIA1TflONS
19      a) "Bookmark" A bookrnark is a PDF document navigational tool that allows the reader to
20          quickly locate and navigate to a designated point of interest within a document.
21      b) "Efiling Portai" The official court website includes a webpage, referned to as the efiling
22          portal, that gives litigants access to the approved Electronic Filing Service Providers.
23      c) `Wectranic Envelope" A transaction through the electronic service provider for submission
24          of documents to the Court for pcncessing which may contain one or mare PDF dacuments
25          attached.

26      d) ITAectrontc Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a
27          document in electronic form. (Califomia Rules of Court, rule 2.250(b)(7).)
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1      e) "Electronic Filing Service Providee" An Blectronic Filing Service Provider (EFSP) is a
2         person or entity that receives an electronic filing from a party for retransmission to the Court.
3         In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
4         agent of the Court. (California Rules of Court. nde 2.250(b)(9).)
5      fl"Electronic Signature" For purposes of these local cules and in conformity with Code of
6         Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
7         (b)(2), Government Code section 68150, subdivision (g), and Califortia Rules of Court, rule
$         2.257, the ter;n "Electronic Signature" is generaIIy defined as an electronic sound, symbol, or
9         process attached to or logically associated with an electronic record and executed or adopted
10        by a person with the intent to sflgn the electronic record.
I1     g) 'Syperltnk" An electronic link providing direct access from one distinctively marked place
12        in a hypertext or hypermedia docutnent to anotber in the same or different document.
13     h) "Fortable Docnment Formal" A digital document format that preserves all fonts,
14        formatting, colors and graphics of the original source documnt, regardless of the application
15        platform used.
16 2) MANDATORY ELEC'TRONIC FD.YNti
17     a) Trial Court Records
18        Pursuant to Government Code section 68150, trial court records may be created, maintained,
14        and preserved in electroruc format. Any document that the Court receives electronically must
20        be clerically processed and must satisfy all legal filing requirements in order to be filed as an
21        official cowt record (California Rules of Court, rufes 2.100, et seq. and 2.253(b)(6)).
22     b) Repmsented Litigants
23        Pursuant to Califontia Rules of Court, rule 2.253(b), represented litigants are requin;d to
24        electronically File docvments with the Court through an approved EFSP.
25     c) Public Notice
26        The Court has issued a Public Notice with effective dates the Court required parties to
27        electronically file documents tlu+nugh one or more approved EFSPs. Public Notices containing
2$        effective dates and the list of EFSPs are available on the Court's va+ebsite, at www.lacourt.ora.

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1           d) Documents in Related Cases
2              Documents in related cases must be electronically filed in the eFiling portal for that case type if
3              electronic filing has been implemented in that case type, regardless of whether the c.ase has
4              been related to a Civil case.
5 1 3) EXEMPT LITIGANTS
6           a) Pursuant to Califorrua Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
7              from mandatorg► electronic filing reguirements.
 8          b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and Califomia Rules of
9              Court, rule 2.253(b)(4). any party may make application to the Court reguesting to be excused
10             from filing documents electronically and be permitted to 61e documents by conventional
11             means if the party shows undue hardship or significant prejudice.
12    4) EXfiMPT FIIrINGS
13          a) The following documents shall not be filed electronically:
14             i) Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                   Civil 1'rocedure sections 170.6 or 170.3;
16             ii) Eonds/Undertaking documents;
17             iii) Trial and Evidentiary Hearing Exhibits
18             iv) Any ex parte application that is filed concurrently with a new complaint including those
19                   that will be handled by a Writs and Receivers depactment in the Mosk courthouse; and
20             v) Documents submitted conditionally under seal. The actual motion or application shall be
21                   electronically filed. A courtesy copy of the electronically filed motion or application to
22                   submit documents conditionally under seal must be provided wath the documents
23                   submitted conditionally under seal. _ _
24          b) . Lodgments
25             Documents attached to a Notice of Lodgment shall be lodged andlor served conventionally in
26    paper form. The actual document entitled, "Notice of Lodgment," shaIl be filed electronically.
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                          FIRST AMF.NDED GOVERA[.ORDER RE MANDATORY ELEC14tO1VIC FQ.1NG POR C[V1L
      Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 45 of 50 Page ID #:51

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1 1 5) ELBCTRONIC FILING SYSTEM WORKING PROCEDURES
2        Electronic filing service providers must obtain and manage registration information for persons
3       and entities electronically filing with the court.
4 6) TECHVICAL REQUIItEMENTS
 5       a) Electronic documents must be electronically f led in PDF, text searchable format when
 6          technologically feasible without impairment of the document's image.
 7!      b) The table of contents for any fsling must be bookmarked.
 8{      c) Electronic documents, inciuding but not limited to, declarations, proofs of service, and
 9          exhibits, must be bookmarked within the document pursuant to Califomia Rules of Court, rule
10          3.1110(f)(4). Electronic booknuirks must include links to the first page of each bookmarked
11          item (e.g. exhibits, declarations, deposition excerpts) and with baokmark titles that identify the
12          bookedmarked item and briefly describe the itent.
13      d) Attachments to primary documents must be bookmarked. Examples include, but are not
14          limited to, the following:
15'         i)    Depositions;
16          ii)   Declarations;
17          iii) Exhibits (including exhibits to declarations);
18          iv) Transcripts (including exeerpts within transcripts);
19          v)    Points and Authorities;
20          vi) Citations; and
21          vii) Supporting Briefs.
22      e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
23          encouraged.
24      f) Accompanying Documents
25          Each dor.ument acompanying a single pleading must be electronically filed as a separate
26          digital PDF document.
27      g) Multiple Documents
28          Multiple documents relating to one case can be uploaded in one envelope transaction.

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     Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 46 of 50 Page ID #:52

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 1     h) Wrlts and Abstracts
 2         Writs and Abstracts must be submitted as a separate electronic envelope.
 3     i) Sealed Documents
 4         If and when a judicial officer orders documents to be fled under seal, those docuanents must be
 5         f led electronically (unless exempted under paragraph 4); the burden of accurately designating
 6         the docuanents as scaled at the titne of electronic subtnission is the submitdng party's
 7         responsibility.
 8     j) Redaction
 9         Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
10        redact confidential information (such as using initials for names of minors, using the last four
11         digits of a social security number, and using the year for date of birth) so that the information
12         shall not be publicly displayed.
13 17) ELEGTRONIC FILING SCHEDULE
14     a) Filed Date
15         i) Any document received electronically by the eourt betwween 12:00 am and 11:59:59 pm
16            shall be deemed to have beeQ effectively filed on that court day if accepted for filing. Any
17            docutnent received electronically on a non-court day, is deemed to have been effectively
18             filed on the next court day if accepted. (Califomia Rales of Court, rule 2.253(b)(6); Code
19            Civ. Proc. § 1010.6(b)(3).)
20         ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
21            course because of: (1) an interruption in service; (2) a transrnission error that is not the
22            fault of the transmitter, or (3) a processing failure that occurs after receipt, the Court may
23            order, either on its own motion or by noticed motion submitted with a declaration for Court
24            consideration, that the document be deemed filed andlor that the document's filing date
25            conform to the attempted transmission date.
26   8) EX PARTE APPLICATIONS
27     a) E.x parte applications and all documents in support theteof must be electronically filed no later
28        than 10:00 a.m. the court day before the ex parte hearing.

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                     FlRST AMBNDSD GENERAS. pttDER RE MANDATORY ELECTROPIIC Ftle1lVG FOR CIV1L
     Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 47 of 50 Page ID #:53

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 i     b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
2          day of the ex parte hearing. A printed courtesy copy af any opposition to an ex parte
3          appGcation must be provided to the court the day of the ex parte hearing.
4    9) PRINTED COURTESY COPIEs
5      a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
6          be deliveted to the courtroom by 4:30 p.m. the same business day the document is e61ed. If
7          the efaling is submitted after 4:30 p.m., the courtesy copy must be deliveml to the courtroom
 8         by 10:00 a.m. the next business day.

 9     b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10         electronic submission) is required for the following documents:
11         i)    Any printed document required pursuant to a Standing or (3eneral Order;
12        ii)    Pleadings and motions (including attachntents such as declarations and exhibits) of 26
13               pages or more;
14        iii)   Pleadings and motions that include points and authorities;
15        iv)    Demurrers;
16         v)    Anti-SLAPP fiL'ngs, pursuant to Code of Civil Procedure section 425.16;
17        vi)    Motions for Summary Judgment/Adjudication; and
18       vii)    1Viotions to Compel Further Discovery.
19     c) Nothing in this C3eneral Order precludes a Judicial Officer from requesting a courtesy copy of
20         additional documents. Courteoom specific courtesy copy guidelines can be found at
21         www.lacourt.ors on the Civil webpage under "Courtroom Information."
22   0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FIL.ED DOCUMENTS
23     a) Fees and costs associated with electmnic filing must be waived for any litigant who has
24         received a fee waiver. (California Rules of Court, rules 2.253(b)Q, 2.258(b), Code Civ. Proc. §
25         1010.6(d)(2).)
26     b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27         section 1010.6, subdivision (b)(6). and California Rules of Court, rule 2.252(f), may be
28         electronically filed in any authorized action or pc+oceeding.

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                     FIRST AMENDED GSNBRAL oRDER RE MANDATDRY BLEC[R®NIC FIWNG Folt CN1L
      Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 48 of 50 Page ID #:54

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1 11) SIGNATURES QN EI.ECTRONIC FILING

2        For purposes of this General Order, all electronic filings must be in compliance with California
3        Rules of Court, rule 2.257. This General Order applies to documents f led within the Civil
4        Division of the Los Angeles County Superior Court.
5

6            This First Amended General Order supersedes any previous order related to electronic filing,
7     and is effective immediately, and is to remain in effect until otherwise ordered by the Civil
8     Supervising Judge and/or Presiding Judge.
9

10 I DATED: May 3, 2019                                     A,,~     -     ~
                                                           ICEVIN C. BRAZILE
11                                                         Presiding Judge
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                        FiRST AMENDED GENERAL ORDHR RE MANDA'tDRY ELEC7RONIC FIWNG FOR CIVIL
                Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 49 of 50 Page ID #:55
CASE INFORMATION
Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings Held

Case Number: 19STCV18364
LUKASZ GOTTWALD, ET AL. VS LIBERTY INSURANCE UNDERWRITERS, INC., ET AL.
Filing Courthouse: Stanley Mosk Courthouse
Filing Date: 05/28/2019
Case Type: Insurance Coverage (not complex) (General Jurisdiction)
Status: Pending

Click here to access document images for this case
If this link fails, you may go to the Case Document Images site and search using the case number displayed on this page




FUTURE HEARINGS
Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings Held

None



PARTY INFORMATION
Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings Held

DOES 1-30 - Defendant

GOTTWALD LUKASZ - Plaintiff

IRONSHORE INSURANCE SERVICES LLC - Defendant

KARALIAN RENEE - Plaintiff

LIBERTY INSURANCE UNDERWRITERS INC. - Defendant

NOGUES JEAN PIERRE JR. - Attorney for Plaintiff




DOCUMENTS FILED
Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings Held

Documents Filed (Filing dates listed in descending order)
06/07/2019 Proof of Personal Service
Filed by Lukasz Gottwald (Plaintiff); Renee Karalian (Plaintiff)

06/07/2019 Proof of Personal Service
Filed by Lukasz Gottwald (Plaintiff); Renee Karalian (Plaintiff)

05/28/2019 Notice of Case Assignment - Unlimited Civil Case
Filed by Clerk

05/28/2019 Civil Case Cover Sheet
Filed by Lukasz Gottwald (Plaintiff); Renee Karalian (Plaintiff)

05/28/2019 Summons (on Complaint)
Filed by Lukasz Gottwald (Plaintiff); Renee Karalian (Plaintiff)

05/28/2019 Complaint
Filed by Lukasz Gottwald (Plaintiff); Renee Karalian (Plaintiff)




http://www.lacourt.org/casesummary/ui/popupCaseSummary.aspx
                 Case 2:19-cv-05612 Document 1-1 Filed 06/27/19 Page 50 of 50 Page ID #:56
PROCEEDINGS HELD
Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings Held

Proceedings Held (Proceeding dates listed in descending order)
None




REGISTER OF ACTIONS
Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings Held

Register of Actions (Listed in descending order)
06/07/2019 Proof of Personal Service
Filed by Lukasz Gottwald (Plaintiff); Renee Karalian (Plaintiff)

06/07/2019 Proof of Personal Service
Filed by Lukasz Gottwald (Plaintiff); Renee Karalian (Plaintiff)

05/28/2019 Notice of Case Assignment - Unlimited Civil Case
Filed by Clerk

05/28/2019 Summons (on Complaint)
Filed by Lukasz Gottwald (Plaintiff); Renee Karalian (Plaintiff)

05/28/2019 Complaint
Filed by Lukasz Gottwald (Plaintiff); Renee Karalian (Plaintiff)

05/28/2019 Civil Case Cover Sheet
Filed by Lukasz Gottwald (Plaintiff); Renee Karalian (Plaintiff)




http://www.lacourt.org/casesummary/ui/popupCaseSummary.aspx
